          Case 3:14-cr-00282-SI       Document 25      Filed 09/10/14     Page 1 of 2




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Attorney for Defendant




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF OREGON
                               PORTLAND DIVISION

UNITED STATES OF AMERICA,                          Case No. 3:14-cr-00282-KI

                              Plaintiff,           AFFIDAVIT OF COUNSEL IN
                                                   SUPPORT OF UNOPPOSED MOTION
                         v.                        TO CONTINUE TRIAL DATE

JASON MICHAEL KEATING,

                              Defendant

STATE OF OREGON               )
                              ) ss:
County of Multnomah )

       I, Gerald M. Needham, being duly sworn, do depose and say:

1.     I am counsel for Jason Michael Keating in the above-entitled action.

2.     Mr. Keating has been indicted for one count of Conspiracy To Transport, Receive, And

       Sell Stolen Goods in violation of 18 U.S.C. § 371 and one count of Receipt Of Stolen

       Goods in violation of 18 U.S.C. § 2315. The indictment contains a forfeiture allegation.

3.     Mr. Keating has been released on pretrial conditions. He remains in compliance with all

       aspects of his release conditions. Counsel has spoken with Mr. Keating concerning the need

       for a continuance. He authorized counsel to represent he consents to a continuance of his

PAGE 1.    AFFIDAVIT OF COUNSEL IN SUPPORT OF UNOPPOSED MOTION TO CONTINUE TRIAL
           DATE
          Case 3:14-cr-00282-SI       Document 25        Filed 09/10/14    Page 2 of 2




      trial date with the knowledge that the timeframe is excludable under the Speedy Trial Act

      pursuant to 18 U.S.C. § 3161(h)(7)(A).

4.    Counsel has received discovery materials. Additional discovery materials were forwarded

      to counsel late last week. Additional time is required to review discovery materials, conduct

      pretrial investigation, consult with Mr. Keating, and otherwise properly prepare for trial.

5.    Assistant United States Attorney Ryan Bounds has authorized counsel to represent the

      government has no objection.

6.    Celia Howes, attorney for co-defendant Kyle Keoki Yamaguchi, has authorized counsel to

      represent that her client has no objection to the requested continuance. Mark Cogan,

      counsel for co-defendant Tung Wing Ho, has been advised of the nature of the motion.

      Counsel has yet to receive a reply from Mr. Cogan.

7.    Based on the aforementioned, counsel moves to continue the trial of September 16, 2014,

      to November 18, 2014, or a date thereafter convenient to the Court. The timeframe of the

      requested continuance is excludable from Speedy Trial computations pursuant to 18 U.S.C.

      § 3161(h)(7)(A), as additional time is required for pretrial investigation and trial

      preparation and the ends of justice served by the granting of the continuance outweigh the

      interests of the public and the defendant in a speedier trial.

      DATED this 10th day of September, 2014.

                                                     /s/ Gerald M. Needham
                                                     Gerald M. Needham
                                                     Attorney for Defendant

      SUBSCRIBED AND SWORN to before me this 10th day of September, 2014.

                                                     /s/ Jennifer Louise Lillie
                                                     Notary Public for Oregon
                                                     My commission expires: 3/22/2017


PAGE 2.    AFFIDAVIT OF COUNSEL IN SUPPORT OF UNOPPOSED MOTION TO CONTINUE TRIAL
           DATE
